Case 17-18454-pmm            Doc 52     Filed 02/17/22 Entered 02/17/22 14:45:37                      Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


      Terrence Peter Pacheco fdba T&A Pacheco                                 CHAPTER13



      LAKEVIEW LOAN SERVICING LLC
                                                                          NO. 17-18454PMM
                                        Movant
                       vs.

      Terrence Peter Pacheco fdba T&A Pacheco
                                                                          11 U.S.C. Section 362


      Scott F. Waterman, Esquire
                                        Trustee

                                               STIPULATION

               AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

               I.      The post-petition arrearage on the mortgage held by the Movant on the Debtor's

      residence is $1,038.00, which breaks down as follows;


        Fees & Costs Relating to Motion: $1,038.00
        Total Post-Petition Arrears      $1,038.00

               2.     The Debtor(s) shall cure said arrearages in the following manner;

                      a). Beginning on March I, 2022 and continuing through August I, 2022, until the

      arrearages are cured, Debtor(s) shall pay the present regular monthly payment of $1,669.59 on the

      mortgage (or as adjusted pursuant to the terms of the mortgage) on or before the first(!'~ day of each

      month (with late charges being assessed after the 15111 ofthe month), plus an installment payment of

      $173.00 towards the arrearages on or before the last day of each month at the address below;

                                                  M&TBANK
                                             P.O. BOX 1288
                                         BUFFALO, NY 14240-1288
                      b).      Maintenance of current monthly mortgage payments to the Movant

      thereafter.
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              3.      Should debtor(s) provide sufficient proof of payments (front & back copies of

     cancelled checks and/or money orders) made, but not credited, Movant shall adjust the account

     accordingly.

              4.      In the event the payments under Section 2 above are not tendered pursuant to the

     terms of this stipulation, the Movant shall notify Debtor(s) and Debtor's attorney of the default in

     writing and the Debtors may cure said default within FIFTEEN ( 15) days of the date of said notice.

     If Debtor(s) should fail to cure the default within fifteen (15) days, the Movant may file a

      Certification of Default with the Court and the Court shall enter an Order granting the Movant relief

      from the automatic stay.

              5.       The stay provided by Bankruptcy Rule 4001(a)(3) is waived.

              6.       If the case is converted to Chapter 7, the Movant shall file a Certification of Default

      with the court and the court shall enter an order granting the Movant relief from the automatic stay.

              7.       If the instant bankruptcy is .terminated by either dismissal or discharge, this

      agreement shall be null and void, and is not binding upon the parties.

              8.       The provisions of this stipulation do not constitute a waiver by the Movant of its

      right to seek reimbursement of any amounts not included in this stipulation, including fees and costs,

      due under the terms of the mortgage and applicable Jaw.

              9.       The parties agree that a facsimile signature shall be considered an original signature.




      Date:   February 15, 2022                           By: Isl Rebecca A. Solarz. Esquire
                                                          Attorney for Movant


      Date:    «/17/ ~oa,Q.
                                                          Zachary Zawarsk:i, Esquire
                                                          Attorney for Debtor
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                                              ~~hr
                                             Scott F. Waterman, Esquire
                                             Chapter 13 Trustee



     Approved by the Court this _ _ day of _ _ _ _ _ _ _~ 2022. However, the cowt
     retains discretion regarding entry of any further order.



                                             Bankruptcy Judge
                                             Patricia M. Mayer
